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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
SUNIL BHATIA, individually and )
derivatively on behalf of MEDVALUE )
OFFSHORE SOLUTIONS, INC., ) Case Number: 1:18-cv-2387
) Hon. Beth W. Jantz
Plaintiff, )
)
Vv. )
)
RAJU VASWANI, an individual, KARAN )
VASWANI, an individual, ASSIVO, INC. (f/k/a __)
MV OUTSOURCING, INC.), an Illinois )
Corporation, )
)
Defendants. )

DEFENDANT, RAJU VASWANI’S, MOTION TO QUASH SUBPOENAS ISSUED BY
PLAINTIFF, SUNIL BHATIA, TO GOOGLE AND NEW JUPITER MEDIA

NOW COMES Defendant, Raju Vaswani (“Vaswani”), by and through his undersigned
counsel of Huck Bouma PC, and respectfully moves this Honorable Court to quash the
subpoenas that have been issued by Plaintiff, Sunil Bhatia (“Bhatia”), to Google and New Jupiter
Media, and in support thereof, states as follows:

FACTUAL BACKGROUND

This case arises out Defendants’ alleged misappropriation of MedValue Offshore
Solutions, Inc.’s alleged trade secrets (Counts I and II) and trademarks (Counts III] and IV). As it
concerns the trade secrets claims, on February 1, 2019, Co-Defendants, Karan Vaswani
(“Karan”) and Assivo, Inc. (“Assivo”) (collectively, “Co-Defendants” and with Vaswani the
“Defendants”), filed their Motion to Modify the Current Discovery Schedule and to Require
Plaintiff to Identify MedValue Offshore Solution, Inc.’s Alleged Trade Secrets (the “Discovery

Motion”). See Dkt. No. 57. Vaswani joined the Motion on February 4, 2019. See Dkt. No. 60.

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On February 14, 2019, this Court partially granted the Discovery Motion. See Dkt. No.
71. Specifically, this Court denied, without prejudice, Co-Defendants’ request that Bhatia
identify the trade secrets alleged in the Second Amended Complaint with specificity before
Bhatia could compel discovery of Co-Defendants’ trade secrets. This Court reasoned that the
request was premature since it previously ordered a stay of discovery pending ruling on
Defendants’ respective motions to dismiss the Second Amended Complaint. See Dkt. Nos. 62,
71. At that time, the Court stated that it “agree[d] that [Bhatia] will be required first to identify
with reasonable particularity the matter which [he] claims constitutes a trade secret, before [he]
will be allowed (given a proper showing of need) to compel discovery of its adversary’s trade
secrets.” See Dkt. No. 71. (internal citations and quotations omitted) (emphasis added). This
Court further stated that “[i]f [Bhatia’s] allegations regarding trade secrets survive the motions to
dismiss, defendants may re-submit their request before this Court.” See Dkt. No. 71.

On September 25, 2019, this Court ruled on Defendants’ motions to dismiss, and found
that it lacked subject matter jurisdiction over numerous unrelated state law claims asserted by
Bhatia. See Dkt. No. 83. This Court allowed Bhatia to proceed on his trade secret
misappropriation (Counts I and II) and unfair competition claims (Counts III and IV). See Dkt.
No. 83. Shortly thereafter, on October 24, 2019, Bhatia filed a motion for reconsideration. See
Dkt No. 87. Bhatia’s motion for reconsideration has been fully briefed, and is currently under
consideration by this Court. Additionally, on October 11, 2019, Bhatia re-filed his Second
Amended Complaint consistent with this Court’s Memorandum and Order. See Dkt. Nos. 83,
85.

On October 17, 2019, Co-Defendants served a single interrogatory upon Bhatia that

requested him to disclose the specific trade secrets he claims are at issue in this case. On

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November 18, 2019, Bhatia responded to said interrogatory, but his response was significantly
deficient in that it did not identify with reasonable particularity the matter which Bhatia claims
constitutes a trade secret despite this Court’s previous statements.

Accordingly, on December 23, 2019, Co-Defendants filed a renewed discovery motion
requesting this Court to order Bhatia to identify the alleged trade secrets that were pled as
general categories in the Second Amended Complaint. See Dkt. No. 97. On December 27, 2019,
Vaswani filed a motion requesting this Court to continue the discovery stay and require Bhatia to
identify and disclose information regarding MedValue Offshore Solutions, Inc.’s alleged trade
secrets and trademarks. See Dkt. No. 27. Purely as a means of retaliation, Bhatia also filed
discovery motions, including a motion to compel and a motion for entry of a protective order.
See Dkt. Nos. 102, 104.

This Court ruled on the aforementioned discovery motions on January 23, 2020. See Dkt.
No. 108. Of significant importance, at that time, this Court ordered Bhatia to supplement his
interrogatory response regarding trade secret information, and further ordered the parties to meet
and confer regarding the sufficiency of the supplemental response. See Dkt. No. 108. This
Court also ordered the parties to submit a joint status report setting forth each parties’ position if
the parties were still in dispute following the meet and confer. See Dkt. No. 108. This Court
further set certain discovery deadlines with respect to party written discovery. See Dkt. No. 108.

On February 7, 2020, Bhatia submitted a revised response to Co-Defendants’
interrogatory and designated the same “attorneys’ eyes only.” However, as established in Co-
Defendants’ most recent motion to compel, Bhatia’s interrogatory response remains deficient in

that it again fails to identify the alleged trade secrets with any particularity, and further fails to

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explain how the broadly defined categories of information constitute trade secrets. See Dkt. No.
121.

On February 10, 2020, this case was reassigned to the Honorable Beth W. Jantz. See
Dkt. No. 114. Thereafter, on February 27, 2020, the parties presented for an initial status
hearing. At that time, this Court ordered Co-Defendants to file their motion to compel relative to
Bhatia’s insufficient interrogatory answer by February 28, 2020, and ordered Bhatia to file his
response by March 11, 2020. See Dkt. No. 120.

As the Court will recall, at the February 27, 2020 status conference, counsel for Bhatia
and for Vaswani called the Court’s attention to the fact that both sides had discovery requests
outstanding to the other side, including Requests for Admission served by Vaswani on January
23, 2020. In a clear indication that the Court did not intend for discovery to proceed further until
the motion to compel was ruled upon, this Court indicated that neither side was required to
respond to the other’s discovery at this time, and to date, Bhatia has not answered Vaswani’s
Requests for Admission. This Court further stated that it would reset written and fact discovery
deadlines on March 23, 2020, when it was to hear and rule upon Co-Defendants’ motion to
compel!. See Dkt. No. 120.

This ruling was consistent with the entire purpose of the motion to compel, which is that
Bhatia should not be permitted to use the discovery process to fish for evidence to support his
claims, unless and until he has made a sufficient showing to support the elements of his
purported trade secrets claims. Indeed, if Bhatia is under the impression that discovery is to

proceed even while the parties await ruling on the motion to compel, there is no explanation

 

+ As a result of coronavirus pandemic, the March 23, 2020 status and hearing date was stricken and has been
rescheduled to April 28, 2020. See Dkt Nos. 130, 132.

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whatsoever as to why he has not answered the Requests for Admission that were served upon
him in January.

Notwithstanding the exchange that occurred before this Court at the February 27, 2020
status hearing and this Court’s February 27, 2020 Order, on March 10, 2020, Bhatia issued broad
subpoenas for records to Google and New Jupiter Media, third parties to this case. A copy of
each subpoena is attached hereto as Exhibits 1 and 2, respectively. As more fully discussed
herein, the subpoenas issued to Google and New Jupiter Media must be quashed because they are
premature and violate the spirit of the colloquy that took place before this Court on February 27,
2020.

LAW & ARGUMENT

I. The Subpoenas Must Be Quashed Because They Are Premature And Violate
The Colloquy That Took Place Before This Court On February 27, 2020.

It is well established that “[a] party has standing to move to quash a subpoena addressed
to another if the subpoena infringes upon the movant’s legitimate interests.” Phipps v. Adams,
2012 WL 3074047, *3 (S.D. Ill. 2012) (internal quotations and citations omitted). Here,
Vaswani has standing to quash the subpoenas issued to Google and New Jupiter Media, because
he has a legitimate interest in the administration of the instant legal proceeding since he is a
named party and the third-party subpoenas seek broad information pertaining to Vaswani and his
business, MedValue Offshore Solutions, Inc. See id.

As discussed above, based upon the colloquy that took place on February 27, 2020, it has
appeared evident that this Court did not intend that written discovery would proceed pending
ruling on Co-Defendants’ motion to compel, and that is why Bhatia has been excused from
answering the Requests for Admission. Notwithstanding this, although Bhatia was present in

Court on February 27, 2020 via his counsel, he nevertheless issued the third-party subpoenas on

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March 10, 2020, while simultaneously not answering the Requests for Admission. This Court
must quash the subpoenas as they are premature. In the alternative, if Bhatia truly believes that
discovery is open and ongoing in this matter, this Court should deem all of the Requests for
Admission admitted, as the time for Bhatia to deny them has long passed.

Additionally, as Co-Defendants’ establish in their motion to compel, federal courts
routinely require plaintiffs in trade secret cases to specify trade secret information before written
discovery proceeds for various reasons. See Del Monte Fresh Produce Co. v. Dole Food Co.
Inc., 148 F. Supp. 2d 1322, 1325-26 (S.D. Fla. 2001); Switch Commce’ns Grp. v. Ballard, No. 11-
cev-00285, 2012 WL 2342929, at *6 (D. Nev. June 19, 2012); Ikon Office Solutions, Inc. v.
Konica Minolta Bus. Solutions, USA Inc., No. 08-cv-539, 2009 WL 4429156, at *4 (W.D.N.C.
Nov. 25, 2009); DeRubeis v. Witten Techs., Inc., 244 F.R.D. 676, 680-81 (N.D. Ga. 2007); Vesta
Corp. v. Amdocs Mgmt. Ltd., 147 F. Supp. 3d 1147 (D. Ore. 2015) (citation omitted); Dura
Global Techs. Inc. v. Magna Donnelly Corp., No. 07-cv-10945-DT, 2007 WL 4303294 (E.D.
Mich. Dec. 6, 2007) (“Ordering the list of trade secrets at the outset of the litigation is a common
requirement.” (citation and quotation omitted)).

One of the numerous reasons for requiring a plaintiff to identify his trade secrets with
specificity before discovery proceeds is to deny a plaintiff the “opportunity to craft a trade secret
claim to fit the evidence” obtained during discovery. Vesta Corp., 147 F. Supp. 3d at 1153
(internal citation omitted). “Requiring the plaintiff to state its claimed trade secrets prior to
engaging in discovery ensures that it will not mold its cause of action around the discovery it
receives.” Switch Commce’ns Grp. 2012 WL 2342929, at *4 (internal citation omitted). Here, the
broad scope of the subpoena requests unequivocally demonstrate that Bhatia issued the

subpoenas in an attempt to craft his trade secret claims around whatever documents he may

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receive from Google and New Jupiter Media, which is wholly improper and frowned upon by
federal courts as discussed herein. The fact that Bhatia has failed to specify any trade secret
information with specificity to date is proof that he has no information to support his trade secret
claims and is hoping to rely upon information obtained from third parties. Put simply, Bhatia
should not be allowed to issue third party subpoenas as he sees fit given this Court’s comments
on February 27, 2020 excusing Bhatia himself from answering Requests for Admission,
especially since Bhatia has failed to identify the alleged trade secrets with any reasonable
particularity to date.
CONCLUSION
WHEREFORE, Defendant, Raju Vaswani, respectfully requests that this Honorable
Court:
A. Grant his Motion to Quash the Subpoenas Issued by Plaintiff, Sunil Bhatia, to Google
and New Jupiter Media; and,
B. Award such other and further relief deemed equitable and just.
Respectfully submitted,
RAJU VASWANI
By: /s/ Thomas A. Christensen
Attorney for Defendant, Raju Vaswani
Thomas A. Christensen
Illinois ARDC Number: 6215881
tchristensen@huckbouma.com
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(630) 221-1755

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CERTIFICATE OF FILING AND SERVICE

I, Thomas A. Christensen, certify as follows under penalty of perjury this 1‘ day of April,
2020:

1, I filed Defendant, Raju Vaswani’s, Motion to Quash Subpoenas Issued by
Plaintiff; Sunil Bhatia, to Google and New Jupiter Media by filing it with the Clerk of the Court
via electronic means on April 1, 2020.

2. I served Defendant, Raju Vaswani’s, Motion to Quash Subpoenas Issued by
Plaintiff, Sunil Bhatia, to Google and New Jupiter Media by filing it with the Clerk of the Court
via electronic means, which electronic filing constitutes service by virtue of local rule 5.9.

3, I made the electronic filing on April 1, 2020.

By: /s/ Thomas A. Christensen

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
Northern District of Illinois
SUNIL BHATIA )
Plaintiff )
v. ) Civil Action No, 18-Cv-2387
RAJU VASWANI, et al. )
)
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: GOOGLE
801 Adiai Stevenson Drive, Springfield, Illinois 62703

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Please see attached rider (Exhibit A).

 

Place: LeonardMeyer, LLP (Attn: John Bisbikis) ~ | Date and Time:
120 N. Lasalle Street, Suite 2000, Chicago, IL 60602 | 04/07/2020 9:00 am

 

 

 

0) Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/10/2020

CLERK OF COURT
OR :

Signature of Clerk or Deputy Clerk Attorney's signature

 

 

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff,
Sunil Bhatia, derivatively on behalf of MedValue Offshore Solutions, Inc._, who issues or requests this subpoena, are:

John Bisbikis, 120 N. LaSalle Street, Suite 2000, Chicago, IL 60602; jbisbikis@ leonardmeyerllp.com; 312-374-8084.

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

EXHIBIT

|

tabbies"
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 18-cv-2387

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45,)

I received this subpoena for (name of individual and title, if any)

 

on (date)

© I served the subpoena by delivering a copy to the named person as follows:

 

On (date) or

 

0 I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(J) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer, or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attomey
responsible for issuing and serving s subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable atiomey’s fees—on a party or attomey who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

{A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or ail of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

{i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor 2 party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
{A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(i) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

Gi) ensures that the subpoenaed person will be reasonably compensated,

(ec) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(bX{2XC). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld, A person withholding subpoenzed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(i) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) faformation Produced. 1f information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
prcuced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
mation is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 
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RIDER TO SUBPOENA FOR PRODUCTION OF DOCUMENTS

DEFINITIONS AND INSTRUCTIONS:

1.

The term and time period shal] mean “relevant time period” for purposes of this Notice and
Rider, shall be from January 1, 2014 through the present.

The term “Defendants” shall mean the Defendants to this action, Raju Vaswani, Karan
Vaswani, and Assivo, Inc. (f/k/a MV Outsourcing, Inc) and any of its present or former
employees, directors, officers, agents, attorneys, and representatives.

The term “Plaintiff” shall mean the Plaintiff to this action, Sunil Bhatia, derivatively on
behalf of MedValue Offshore Solutions, Inc. (“Medvalue”) and any of its present or former
employees, directors, officers, agents, attorneys and representatives.

The term “Google” shall mean the subject of the Subpoena, known and/or doing business
as Google and any of its present or former employees, directors, officers, agents, attorneys

and representatives.

DOCUMENTS TO BE PRODUCED:

1.

During the relevant time period, all contracts or agreements between Google and
MedValue Offshore Solutions, Inc.

During the relevant time period, all contracts or agreements between Google and Raju
Vaswani.

During the relevant time period, all contracts or agreements between Google and Karan
Vaswani.

During the relevant time period, all contracts or agreements between Google and Assivo,

Inc. (f/k/a MV Outsourcing, Inc.).
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5. During the relevant time period, all communications, including, ESI (e.g. emails,
documents and business records) with MedValue Offshore Solutions, Inc, including but
not limited to all emails exchanged between Google and any email address at the following
domains: : medvaluebpo.com, and data-entry-services.com.

6. During the relevant time period, all communications, including, ESI (e.g. emails,
documents and business records) with Raju Vaswani, including but not limited to all emails
exchanged between Google and the Email addresses: rajv@medvaluebpo.com,
tajv@mvoutsourcing.com, rvaswani@yahoo.com, rajv@assivo.com, and rajv@task-
genie.com.

7. 7. During the relevant time period, all] communications, including, ESI (e.g. emails,
documents and business records) with Karan Vaswani, including but not limited to the
following email addresses: karan@mvoutsourcing.com, karan@task-genie.com,
karan@assivo.com, sales@assivo.com, hello@assivo.com, hello@task-genie.com,
sales@task-genie.com, and kvaswani@gmail.com.

8. During the relevant time period, all communications, including, ESI (e.g. emails,
documents and business records) with anyone at Assivo, inc. (f/ka/ MV Outsourcing, Inc.)
including but not limited to all emails exchanged between Google and any email address
at the following domains: MVOutsourcing.com, Assivo.com and Task-genie.com.

9, During the relevant time period, all ESI (e.g. emails, documents and business records)
relating to AdWords campaigns, keywords, negative keywords and other attributes in
MedValue Offshore Solutions, Inc.’s Google AdWords account (Account #472-455-4429).,

10. During the relevant time period, all ESI (e.g. emails, documents and business records)

relating to all Google AdWords accounts owned or controlled by Raju Vaswani.
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11. During the relevant time period, all ESI (e.g. emails, documents and business records)
relating to all Google AdWords accounts owned or controlled by Karan Vaswani.

12. During the relevant time period, all ESI (e.g. emails, documents and business records)
relating to all Google AdWords accounts owned or controlled by Assivo, Inc. (f/k/a MV
Outsourcing, Inc.)

13. During the relevant time period, a copy of all logs for MedValue Offshore Solutions, Inc.’s
Google Adwords account: ACCOUNT #: 472-455-4429.

14. During the relevant time period, a copy of all logs for all Google Adwords accounts owned
or controlled by Raju Vaswani.

15. During the relevant time period, a copy of all logs for all Google Adwords accounts owned
or controlled by Karan Vaswani.

16. During the relevant time period, a copy of all logs for all Google Adwords accounts owned
or controlled by Assivo, Inc. (f/k/a MV Outsourcing, Inc.).

17. During the relevant time period, all invoices to MedValue Offshore Solutions, Inc. for
MedValue Offshore Solutions, Inc.’s Google Adwords account: ACCOUNT #:472-455-
4429.

18. During the relevant time period, all invoices for all AdWords accounta owned or controlled
by Raju Vaswani.

19. During the relevant time period, all invoices for all AdWords accounts owned or controlled
by Karan Vaswani.

20. During the relevant time period, all invoices for all AdWords accounts owned or controlled

by Assivo, Inc. (f/k/a MV Outsourcing, Inc.)
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21. During the relevant time period, all communications between Google and New Jupiter
Media concerning MedValue Offshore Solutions, Inc.

22. During the relevant time period, all communications between Google and New Jupiter
Media concerning Karan Vaswani.

23. During the relevant time period, all communications between Google and New Jupiter

Media concerning Assivo, Inc. (f/k/a MV Outsourcing, Inc.).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Illinois

 

 

SUNIL BHATIA )
Plaintiff )

v. ) Civil Action No. 18-¢v-2387
RAJU VASWANI, et al. )
)
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: NEW JUPITER MEDIA
52 Broad St, Keyport, NJ 07735

(Name of person to whom this subpoena is directed)

 

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material; Please see attached rider (Exhibit A).

Place: LeonardMeyer, LLP (Attn: John Bisbikis) -—=—_—=i! Date and Time: . ===
120 N. Lasalle Street, Suite 2000, Chicago, IL 60602 04/07/2020 9:00 am

OG Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

 

- Date and Time:

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/10/2020

CLERK OF COURT

Signature of Clerk or Deputy Clerk , Attorney's signature

 

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff, ;
Sunil Bhatia, derivatively on behalf of MedValue Offshore Solutions, Inc. , who issues or requests this subpoena, are:
John Bisbikis, 120 N. LaSalle Street, Suite 2000, Chicago, IL 60602; jbisbikis@!eonardmeyerllp.com; 312-374-8084.
Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the

inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

EXHIBIT

Z-

 
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit inspection of Premises in a Civil Action (Page 2)

 

Civil Action No, 18-cv-2387

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

On (date)

© 1 served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) 3; OF

 

© J returned the subpoena unexecuted because:

 

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, 1 have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(I) For a Trial, Hearing, or Deposition. A subpoena may command a
person te attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer, or
(if) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attomey
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost eamings and reasonable atiorney’s fees—on a party or attorney who
faits to comply.

(2) Command to Produce Materials or Permit inspection.

(A) Appearance Not Required, A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections, A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or io Inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpeena.
(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(li) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

{iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a pasty.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3){B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

{A) Dacuments. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronicatly Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b\(2XC). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) information Produced. \f information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must prompily retum, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved, must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing courti—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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RIDER TO SUBPOENA FOR PRODUCTION OF DOCUMENTS

DEFINITIONS AND INSTRUCTIONS:

1.

The term and time period shall mean “relevant time period” for purposes of this Notice
and Rider, shall be from January 1, 2014 through the present.

The term “Defendants” shall mean the Defendants to this action, Raju Vaswani, Karan
Vaswani, and Assivo, Inc. (f/k/a MV Outsourcing, Inc.) and any of its present or former
employees, directors, officers, agents, attorneys, and representatives.

The term “Plaintiff” shall mean the Plaintiff to this action, Sunil Bhatia, derivatively on
behalf of MedValue Offshore Solutions, Inc. (“Medvalue”) and any of its present or
former employees, directors, officers, agents, attorneys and representatives.

The term “NEW JUPITER MEDIA” or “NJM” shall mean the subject of the Subpoena,
known and/or doing business as New Jupiter Media, and any of its present or former

employees, directors, officers, agents, attorneys and representatives.

DOCUMENTS TO BE PRODUCED:

1.

During the relevant time period, all contracts or agreements between NJM and MedValue
Offshore Solutions, Inc.

During the relevant time period, all contracts or agreements between NJM and Raju
Vaswani.

During the relevant time period, all contracts or agreements between NJM and Karan
Vaswani.

During the relevant time period, all contracts or agreements between NJM and Assivo,

Inc. (f/k/a MV Outsourcing, Inc.).
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5. During the relevant time period, all communications, including, ESI (e.g. emails,
documents and business records) with MedValue Offshore Solutions, Inc, including but
not limited to all emails exchanged between NJM and any email address at the following
domains: : medvaluebpo.com, and data-entry-services.com.

6. During the relevant time period, all communications, including, ESI (e.g. emails,
documents and business records) with Raju Vaswani, including but not limited to all
emails exchanged between NJM and the Email addresses: rajv@medvaluebpo.com,
rajv@mvoutsourcing.com, rvaswani@yahoo.com, rajv@assivo.com, and rajv@task-
genie.com.

7. 7. During the relevant time period, all communications, including, ESI (e.g. emails,
documents and business records) with Karan Vaswani, including but not limited to the
following email addresses: karan@mvoutsourcing.com, karan@task-genie.com,
karan@assivo.com, sales@assivo.com, hello@assivo.com, hello@task-genie.com,
sales@task-genie.com, and kvaswani@gmail.com.

8. During the relevant time period, all communications, including, ESI (e.g. emails,
documents and business records) with anyone at Assivo, inc. (f/ka/ MV Outsourcing,
Inc.) including but not limited to all emails exchanged between Assivo and any email
address at the following domains: _MVOutsourcing.com, Assivo.com and Task-
genie.com.

9. During the relevant time period, all ESI (e.g. emails, documents and business records)
relating to AdWords campaigns, keywords, negative keywords and other attributes in
MedValue Offshore Solutions, Inc.’s Google AdWords account (Account #472-455-

4429).
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10. During the relevant time period, all ESI (e.g. emails, documents and business records)
relating to all Google AdWords accounts owned or controlled by Raju Vaswani.

11. During the relevant time period, all ESI (e.g. emails, documents and business records)
relating to all Google AdWords accounts owned or controlled by Karan Vaswani.

12. During the relevant time period, all ESI (e.g. emails, documents and business records)
relating to all Google AdWords accounts owned or controlled by Assivo, Inc. (f/k/a MV
Outsourcing, Inc.)

13. During the relevant time period, a copy of all logs for MedValue Offshore Solutions,
Inc.’s Google Adwords account: ACCOUNT #: 472-455-4429.

14. During the relevant time period, a copy of all logs for all Google Adwords accounts
owned or controlled by Raju Vaswani.

15. During the relevant time period, a copy of all Jogs for all Google Adwords accounts
owned or controlled by Karan Vaswani.

16. During the relevant time period, a copy of all logs for all Google Adwords accounts
owned or controlled by Assivo, Inc. (f/k/a MV Outsourcing, Inc.).

17. During the relevant time period, all invoices to Med Value Offshore Solutions, Inc.

18. During the relevant time period, all invoices to Raju Vaswani.

19. During the relevant time period, all invoices Karan Vaswani.

20, During the relevant time period, all invoices to Assivo, Inc. (f/k/a MV Outsourcing, Inc.)

21. During the relevant time period, all communications between Google and New Jupiter
Media concerning MedValue Offshore Solutions, Inc.

22. During the relevant time period, all communications between Google and New Jupiter

Media concerning Karan Vaswani.
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23. During the relevant time period, all communications between Google and New Jupiter

Media concerning Assivo, Inc. (f/k/a MV Outsourcing, Inc.).
